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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                      Case No.: 1:20−cr−00812
                                                        Honorable Harry D. Leinenweber
Michael McClain, et al.
                                         Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 28, 2023:


         MINUTE entry before the Honorable Harry D. Leinenweber: Telephonic status
hearing and ruling on motion hearing held. For reasons stated on the record, the Court
denies Defendant Doherty's Motion for a Bill of Particulars (107). Defendant Hooker's
Motion for leave to file additional appearance (134) is granted. Parties shall email the
court an agreed upon version of the jury questionnaire, with any disputed content
red−lined, by the close of business on 3/2/23. Telephonic pretrial conference set for 3/9/22
at 9:45 a.m. Dial: 8886848852 or 2154460155, access code: 9582710#. Persons granted
remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting of court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Jury Trial set for 3/6/23 is reset to 3/14/23 at 10:00 a.m.
for all defendants. In the interests of justice, time is excluded to 3/14/23 pursuant to 18
U.S.C. § 3161(h)(7)(A)(B). Mailed notice (maf)




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